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                                                1
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                                                2
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                                                3    Nevada Bar No. 3176
                                                     STEPHANIE M. ZINNA, ESQ.
                                                4    Nevada Bar No. 11488
                                                     OLSON CANNON GORMLEY & STOBERSKI
                                                5    9950 West Cheyenne Avenue
                                                     Las Vegas, NV 89129
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                                                     Attorneys for Defendants
                                                9    Clark County School District, and
                                                        Scarlett Perryman
                                                10
                                                                             UNITED STATES DISTRICT COURT
                                                11
                                                                                     DISTRICT OF NEVADA
                                                12
                                                      B.H., a minor by and through her Parent,
                                                13
OLSON CANNON GORMLEY & STOBERSKI




                                                      Sirbrina Bell,
                           Fax (702) 383-0701




                                                14
                                                                                            Plaintiffs,      CASE NO. 2:23-cv-00564-JCM-DJA
          9950 West Cheyenne Avenue
           A Professional Corporation

            Las Vegas, Nevada 89129




                                                15
                                                             vs.
                 Law Offices of




                                                16                                                              STIPULATION AND PROPOSED
                                                      CLARK COUNTY SCHOOL DISTRICT;                             ORDER TO STAY DISCOVERY
                                                17    SCARLETT PERRYMAN, individually, and in
  (702) 384-4012




                                                      her official capacity as a School Associate                      (FIRST REQUEST)
                                                18    Superintendent of Clark County School District;
                                                      RYAN LEWIS, individually, and in his official
                                                19    capacity as Plaintiff’s former Principal;
                                                      KATHRYN FITZGERALD, individually, and in
                                                20    her capacity as Plaintiff’s former teacher of
                                                      record; DOES I-X, and ROE CORPORATIONS
                                                21    I-X, inclusive,
                                                22                                   Defendants.
                                                23
                                                            IT IS HEREBY STIPULATED AND AGREED between the parties, in accordance
                                                24
                                                     with LR 26-3, that discovery, and all associated deadlines, be stayed pending formal
                                                25
                                                     mediation. This Stipulation is supported by good cause, is the Parties’ first request and not
                                                26
                                                     for the purpose of delay.
                                                27

                                                28   ///




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                                                1    I.     DISCOVERY COMPLETED TO DATE
                                                2           The parties have completed the following discovery to date: exchanged their initial
                                                3    Rule 26 Disclosures and supplements thereto. Per the Court’s requirements, the specific
                                                4
                                                     discovery conducted is delineated below:
                                                5

                                                6
                                                            1. Initial Disclosures were served:

                                                7
                                                               a. By Plaintiff on July 21, 2023;

                                                8
                                                               b. By Defendants CCSD and Perryman on July 21, 2023;

                                                9
                                                               c. By Defendants Lewis and Fitzgerald on July 21, 2023.

                                                10
                                                            2. On August 23, 2022, an in-classroom observation of the minor Plaintiff by Plaintiff’s

                                                11
                                                               expert was conducted.

                                                12
                                                            3. On September 15, 2023, Defendants CCSD and Perryman served their First

                                                13
                                                               Supplemental Disclosure of Documents and Witnesses.
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                                                14
                                                            4. On September 21, 2023, Defendants CCSD and Perryman served their Second
          9950 West Cheyenne Avenue
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            Las Vegas, Nevada 89129




                                                15
                                                               Supplemental Disclosure of Documents and Witnesses.
                 Law Offices of




                                                16
                                                            5. The Deposition of Troye Boudreaux was taken on September 22, 2023.

                                                17
                                                            6. On September 25, 2023, Plaintiff served its Responses to Defendant Clark County
  (702) 384-4012




                                                18
                                                               School District’s First Set of Interrogatories.

                                                19
                                                            7. On September 25, 2023, Plaintiff served its Responses to Defendant Clark County

                                                20
                                                               School District’s First Set of Requests for Production of Documents.

                                                21
                                                            8. On October 4, 2023, Defendants CCSD and Perryman served their Third

                                                22
                                                               Supplemental Disclosure of Documents and Witnesses.

                                                23
                                                            9. On October 12, 2023, Plaintiff served its First Supplemental Disclosure of

                                                24
                                                               Documents and Witnesses.

                                                25
                                                            10. The deposition of CCSD Police Lt. Jason Elfberg was noticed for October 17, 2023,

                                                26
                                                               and continued due to Plaintiff’s counsels’ scheduling conflicts.

                                                27
                                                            11. The video deposition of Defendant Fitzgerald was noticed for October 25, 2023, and

                                                28
                                                               rescheduled due to deponent having tested positive for Covid.



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                                                1        12. On October 25, 2023, Defendants CCSD and Perryman served their Fourth
                                                2           Supplemental Disclosure of Documents and Witnesses.
                                                3        13. On October 25, 2023, Defendants Lewis and Fitzgerald served their First
                                                4           Supplemental Disclosure of Documents and Witnesses.
                                                5        14. On October 25, 2023, Defendant Clark County School District served its Answers to
                                                6           Plaintiff’s First Set of Interrogatories.
                                                7        15. On October 25, 2025, Defendant Clark County School District served its Answers to
                                                8           Plaintiff’s First Set of Requests for Admissions.
                                                9        16. On October 25, 2025, Defendant Clark County School District served its Answers to
                                                10          Plaintiff’s First Set of Requests for Production of Documents.
                                                11       17. On October 25, 2023, Defendant Scarlett Perryman served her Answers to Plaintiff’s
                                                12          First Set of Interrogatories.
                                                13       18. On October 25, 2025, Defendant Scarlett Perryman served her Answers to Plaintiff’s
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                           Fax (702) 383-0701




                                                14          First Set of Requests for Admissions.
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            Las Vegas, Nevada 89129




                                                15       19. On October 25, 2025, Defendant Scarlett Perryman served her Answers to Plaintiff’s
                 Law Offices of




                                                16          First Set of Requests for Production of Documents.
                                                17       20. On October 25, 2023, Defendant Ryan Lewis served his Answers to Plaintiff’s First
  (702) 384-4012




                                                18          Set of Interrogatories.
                                                19       21. On October 25, 2023, Defendant Ryan Lewis served his Responses to Plaintiff’s First
                                                20          Set of Requests for Admissions.
                                                21       22. On October 25, 2023, Defendant Ryan Lewis served his Responses to Plaintiff’s First
                                                22          Set of Requests for Production of Documents
                                                23       23. On October 31, 2023, Defendants CCSD and Perryman served their Amended Fourth
                                                24          Supplemental Disclosure of Documents and Witnesses.
                                                25       24. On November 1, 2023, Defendants Lewis and Fitzgerald served their Second
                                                26          Supplemental Disclosure of Documents and Witnesses.
                                                27       25. On November 1, 2023, Defendant Kathryn Fitzgerald served her Answers to
                                                28          Plaintiff’s First Set of Interrogatories.



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                                                1          26. On November 1, 2023, Defendant Kathryn Fitzgerald served her Responses to
                                                2             Plaintiff’s First Set of Requests for Admissions.
                                                3          27. On November 1, 2023, Defendant Kathryn Fitzgerald served her Responses to
                                                4             Plaintiff’s First Set of Requests for Production of Documents.
                                                5          28. The Deposition of Kia Hunter was taken on November 2, 2023.
                                                6          29. The Deposition of Lieutenant Jason Elfberg was taken November 7, 2023.
                                                7          30. The Deposition of Sirbrina Bell was taken November 8, 2023.
                                                8          31. The continued Deposition of Troye Boudreaux was taken on November 13, 2023.
                                                9          32. The Rule 35 Examination of the minor Plaintiff B.H. was completed for December
                                                10            9, 2023.
                                                11         33. The Deposition of Starlyn Olson was taken December 14, 2023.
                                                12         34. On January 5, 2024 Defendants CCSD and Perryman served their Fifth
                                                13            Supplemental Disclosure of Documents and Witnesses.
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                                                14         35. The Deposition of Kathryn Fitzgerald was taken on April 3, 2024.
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            Las Vegas, Nevada 89129




                                                15         36. The Deposition of Ryan Lewis was taken on April 10, 2024.
                 Law Offices of




                                                16         37. The Deposition of Scarlett Perryman was taken on May 21, 2024.
                                                17         38. On June 27, 2024 Plaintiff and Defendants CCSD and Perryman served their Initial
  (702) 384-4012




                                                18            Expert Disclosure, respectively.
                                                19         39. On June 27, 2024, Defendants Lewis and Fitzgerald served their Joinder to
                                                20            Defendants CCSD and Perryman’s Initial Expert Disclosure.
                                                21
                                                     II.   DISCOVERY YET TO BE COMPLETED
                                                22

                                                23
                                                           The Parties have yet to complete the following discovery:

                                                24         1. Continued deposition of Ryan Lewis previously set for July 11, 2024.
                                                25         2. 30(b)(6) Deposition of CCSD.
                                                26         3. In addition to depositions of the named Defendants, Depositions of an estimated six
                                                27            additional CCSD witnesses to events pertinent to the facts and circumstances
                                                28            surrounding the allegations of the Complaint.


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                                                1           4. Depositions of any and all physical and mental healthcare providers for the minor
                                                2                 Plaintiff.
                                                3           5. Upon Plaintiff’s production of Authorizations for physical and mental health care
                                                4                 records, and for childcare records, Subpoenas Duces Tecum will be issued to gather
                                                5                 evidence of the minor Plaintiff’s treatment and interaction at locations other than
                                                6                 CCSD.
                                                7           6. The parties will produce rebuttal expert reports.
                                                8           7. The parties will depose experts as disclosed.
                                                9

                                                10
                                                            The Parties reserve the right to conduct additional discovery that is permitted by

                                                11   the United States Rules of Civil Procedure.
                                                12   III.   LEGAL STANDARD AND REASONING
                                                13
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                                                            The Court has the inherent power to control its docket, including the discretion to
                           Fax (702) 383-0701




                                                14
          9950 West Cheyenne Avenue




                                                     stay proceedings. Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936). The determination
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            Las Vegas, Nevada 89129




                                                15
                 Law Offices of




                                                16
                                                     of whether to stay proceedings is best determined by weighing the competing interests of

                                                17   the parties and the Court. Id. “Among those competing interests are the possible damage
  (702) 384-4012




                                                18   which may result from the granting of a stay, the hardship or inequity which a party may
                                                19
                                                     suffer in being required to go forward, and the orderly course of justice measured in terms
                                                20
                                                     of the simplifying or complicating of issues, proof, and questions of law which could be
                                                21

                                                22
                                                     expected to result from a stay.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th

                                                23   Cir.2005).
                                                24          Here, there is a general understanding of the potential for settlement, and all parties
                                                25
                                                     believe a good faith effort that mediation may achieve settlement. All parties would like to
                                                26
                                                     avoid incurring the expense of proceeding with the remaining discovery if it can be avoided
                                                27

                                                28
                                                     through settlement. The parties' independent negotiations have failed but the parties believe



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                                                1
                                                     a mediation may be helpful to achieve a settlement agreement. This stipulation represents

                                                2    the shared interests of the parties. Additionally, it would be beneficial to the Court and its
                                                3    docket if the parties are able to achieve a settlement agreement during the period of the
                                                4
                                                     stay. As such, the parties seek to stay discovery pending the completion of a mediation.
                                                5

                                                6     DATED this 23rd day of July, 2024.               DATED this 23rd day of July, 2024.
                                                7     OLSON CANNON GORMLEY                              ARIAS SANGUINETTI WANG
                                                         & STOBERSKI                                       & TORRIJOS, LLP
                                                8

                                                9     By: _/s/ Stephanie M. Zinna, Esq. ___             By: _/s/ Christopher A.J. Swift, Esq. _
                                                          THOMAS D. DILLARD, JR., ESQ.                    GREGG A. HUBLEY, ESQ.
                                                10        Nevada Bar No. 6270                             Nevada Bar No. 7386
                                                          STEPHANIE M. ZINNA, ESQ.                        CHRISTOPHER A.J. SWIFT, ESQ.
                                                11        Nevada Bar No. 11488                            Nevada Bar No. 11291
                                                          9950 West Cheyenne Avenue                       7201 W. Lake Mead Blvd., Suite 570
                                                12
                                                          Las Vegas, Nevada 89129                         Las Vegas, NV 89128
                                                13
                                                          Attorneys for Defendants                        Attorneys for Plaintiff
OLSON CANNON GORMLEY & STOBERSKI




                                                            Clark County School District and
                           Fax (702) 383-0701




                                                14          Scarlett Perryman                                LAW OFFICE OF MARIANNE C. LANUTI
                                                                                                             MARIANNE C. LANUTI, ESQ.
          9950 West Cheyenne Avenue
           A Professional Corporation

            Las Vegas, Nevada 89129




                                                15    DATED this 23rd day of July, 2024.                     Nevada Bar No. 7784
                                                                                                             658 Falcon Summit Ct.
                 Law Offices of




                                                16    MARQUIS AURBACH CHTD                                   Henderson, NV 89012
                                                                                                             Attorney for Plaintiff
                                                17
  (702) 384-4012




                                                      By: __/s/ Jackie V. Nichols, Esq. _
                                                18        CRAIG R. ANDERSON, ESQ.
                                                          Nevada Bar No. 6882
                                                19        JACKIE V. NICHOLS, ESQ.
                                                          Nevada Bar No. 14246
                                                20        10001 Park Run Drive
                                                          Las Vegas, NV 89145
                                                21        Attorneys for Defendants Ryan Lewis,
                                                            and Kathryn Fitzgerald
                                                22
                                                     ///
                                                23
                                                     ///
                                                24

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                                                     ///

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                                                27   ///

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                                                 Case 2:23-cv-00564-JCM-DJA            Document 37         Filed 07/24/24   Page 7 of 10



                                                1
                                                                                                  ORDER

                                                2           Based upon the foregoing Stipulation of the Parties, and for good cause appearing

                                                3    therefore, IT IS HEREBY ORDERED that discovery in B.H. through Sirbrina Bell v. Clark
                                                4
                                                     County School District, Scarlett Perryman, Ryan Lewis, and Kathryn Fitzgerald, USDC
                                                5
                                                     Case No. 2:23-cv-00564-JCM-DJA and all related deadlines, are STAYED pending the
                                                6
                                                     completion of a mediation.
                                                7

                                                8           IT IS FURTHER ORDERED that, in the event that the parties do not reach a

                                                9    settlement, they shall file a proposed discovery scheduling order fourteen (14) days after
                                                10
                                                     the unsuccessful mediation.
                                                11
                                                      IT IS FURTHER ORDERED that, although the parties did not cite the good cause
                                                12    standard articulated in Gibson v. MGM  International, No. 2:23-cv-00140-MMD-DJA, 2023
                                                                                          __________________________________________
                                                      WL 4455726 (D. Nev. July 11, 2023),   the parties
                                                                                          UNITED        have demonstrated
                                                                                                   STATES     MAGISTRATE  goodJUDGE
                                                                                                                               cause to stay
                                                13    discovery pending their mediation. So, the Court GRANTS the parties' stipulation to stay
OLSON CANNON GORMLEY & STOBERSKI



                           Fax (702) 383-0701




                                                14    discovery (ECF No. 36).             DATED: ______________________________
          9950 West Cheyenne Avenue
           A Professional Corporation

            Las Vegas, Nevada 89129




                                                15
                 Law Offices of




                                                16

                                                17                                             ______________________________________
  (702) 384-4012




                                                                                               DANIEL J. ALBREGTS
                                                18
                                                                                               UNITED STATES MAGISTRATE JUDGE
                                                19
                                                                                               DATED: July 24, 2024
                                                20

                                                21

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                                                                            Law Offices of
                                                           OLSON CANNON GORMLEY & STOBERSKI
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                                                                                                                                                              Case 2:23-cv-00564-JCM-DJA
                                                                                                                                                              Document 37




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Audrianna Click

From:                           Jackie V. Nichols <jnichols@maclaw.com>
Sent:                           Thursday, July 18, 2024 2:38 PM
To:                             Audrianna Click; 'Emily Smith'; Bryan Tamayo; Jasminn G. Hernandez; Christopher A. J.
                                Swift; Gregg A. Hubley; Krista Busch
Cc:                             Linda Roth; Tom Dillard; Stephanie Zinna
Subject:                        RE: BH v. CCSD / Stip to Stay Discovery


You may aﬃx my e-signature.




Jacqueline V. Nichols, Esq.
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From: Audrianna Click <aclick@ocgattorneys.com>
Sent: Wednesday, July 17, 2024 1:35 PM
To: 'Emily Smith' <emilys@aswtlawyers.com>; Jackie V. Nichols <jnichols@maclaw.com>; Bryan Tamayo
<bryan@aswtlawyers.com>; Jasminn G. Hernandez <jasminn@aswtlawyers.com>; Christopher A. J. Swift
<christopher@aswtlawyers.com>; Gregg A. Hubley <gregg@aswtlawyers.com>; Krista Busch <kbusch@maclaw.com>
Cc: Linda Roth <lroth@ocgattorneys.com>; Tom Dillard <tdillard@ocgattorneys.com>; Stephanie Zinna
<szinna@ocgattorneys.com>
Subject: BH v. CCSD / Stip to Stay Discovery

Good afternoon,

Please see the attached proposed stipulation to stay discovery. Please let me know if you have any changes or if I
may a ix your e-signature.

Thank you kindly!

Audrianna Click
Legal Assistant to
Stephanie Zinna, Esq
Paterno C. Jurani, Esq.
Olson Cannon & Gormley
9950 W Cheyenne Ave Las Vegas, NV 89129
Ph: (702) 384-4012 | F: (702) 383-0701
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                                                          1
             Case 2:23-cv-00564-JCM-DJA                     Document 37            Filed 07/24/24   Page 10 of 10


Audrianna Click

From:                                  Christopher A. J. Swift <christopher@aswtlawyers.com>
Sent:                                  Tuesday, July 23, 2024 12:46 PM
To:                                    Linda Roth; Jackie V. Nichols; Audrianna Click; Emily Smith; Bryan Tamayo; Jasminn G.
                                       Hernandez; Gregg A. Hubley; Krista Busch
Cc:                                    Tom Dillard; Stephanie Zinna
Subject:                               RE: BH v. CCSD / Stip to Stay Discovery



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You can attach my electronic signature to this. Thank you for preparing.



CHRISTOPHER A.J. SWIFT | ARIAS SANGUINETTI | (702) 789-7529




From: Linda Roth <lroth@ocgattorneys.com>
Sent: Tuesday, July 23, 2024 11:37 AM
To: Christopher A. J. Swift <christopher@aswtlawyers.com>; Jackie V. Nichols <jnichols@maclaw.com>;
Audrianna Click <aclick@ocgattorneys.com>; Emily Smith <emilys@aswtlawyers.com>; Bryan Tamayo
<bryan@aswtlawyers.com>; Jasminn G. Hernandez <jasminn@aswtlawyers.com>; Gregg A. Hubley
<gregg@aswtlawyers.com>; Krista Busch <kbusch@maclaw.com>
Cc: Tom Dillard <tdillard@ocgattorneys.com>; Stephanie Zinna <szinna@ocgattorneys.com>
Subject: RE: BH v. CCSD / Stip to Stay Discovery



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